EXHIBIT A
FRANCHISE 39005
DATE EXECUTED__12/20/05

FRANCHISE AGREEMENT

DOCTOR'S ASSOCIATES INC,

with

Avj Cohen

 

Ghezi_ J. Faddoul

 

 

FTC
04/01/05

 

 
FRANCHISE AGREEMENT

This Franchise Agreement (this "“Agreernent”) is made December 20, . 2005 between Doctor's
Associates Inc , a Florida corporation with a principal office in Fort Lauderdale, Florida (‘we" or “us’), and
Avi Cohen, Ghazi J. Faddoul

 

 

 

 

of jo
("you’), for one 1 restaurant (the “Restaurant’) to be located within the
terntory of Development Agent ___ Rabi 1 /Faddou] or the Development Agent's
successor(s), under DA contract number 993 , a8 specified In Item 2:of the DAI Offering Circular
in effect as of the date of this Agreement
RECITALS.

A Weare the owner of a proprietary system (the “System’) for establishing and operating restaurants
featuring sandwiches and salads under our trade name and service mark SUBWAY? We developed the System
spending considerable money, time, and effort The System includes the trademark SUBWAY®, other trademarks,
trade names, service marks, commercial announcements (slogans) and related Insignia (logos) we own (the
“Marks’}, goodwill associated with the Marks, trade dress; recipes. formulas, food preparation procedures, business
methods, forms, and policies; trade secrets, knowledge, techniques, and developments

B We operate and franchise others to operate SUBWAY® restaurants using the System, Including the
Marks

C You want access to the System to establish and operate the Restaurant at a location you select and we
approve

D You acknowledge the System includes confidential and proprietary information which we, our Affillates
(defined below), our development agents and our Affillates’ development agents, franchisees, and agents, will give
you to use only to establish and operate the Restaurant An “Affiliate” means a person or entity that directly or
indirectly through one or more intermediaries, controls, is controlled by, or is under common control with, another
person or entity

E We have granted, and will continue to grant, access to the System to others to establish and operate
SUBWAY® restaurants Our goal 1s to be the number one quick service restaurant system in every market we enter
This Agreement does not grant you the right to own additional SUBWAY? restaurants You acknowledge we do not
have to sell you additional franchises or consent to your purchase of existing franchises

F. You acknowledge the only consideration we receive from you for granting you the license to use the
System consists of the Franchise Fee, the Royalty and performance of your other promises under this Agreement

G You acknowledge you personally received our Franchise Offering Circular and its exhibits, including
this Agreement (the “Offering Circular’), at or prior to your Arst personal meeting with our employee, development
agent, agent, or representative and at least ten (10) business days before you signed this Agreement, and you
signed a Receipt for the Offering Circular You represent you carefully reviewed the Offering Circular and had
enough time to consult with a lawyer, accountant, or other professional advisor, 1f you wanted, and you understand
and agree to be bound by the terms, conditions, and obligations of this Agreement You also represent you had full
opportunity, with the help of a professional advisor if you used one, to ask us and our employees, development
agents, agents, or representatives, all appropriate questions and we and our employees, development agents,
agents or representatives answered all of your questions to your satisfaction, except questions on the subject of
potential earnings, discussed in the following paragraph If you did nut use a professional advisor, you represent
you are satisfled relying on your own education, experience, and skill in evaluating the merits of a franchise
offering

H_ You acknowledge no employee, agent, or representative of ours, or of our Affiliates, or our development
agents, made any oral, written or visual representation or projection to you of actual or potential sales. earnings. or
net or gross profits You also acknowledge no employee, agent, or representative of ours, or of our Affiliates, or our
development agents, has made any statements that are contrary to, or different from, the information in the
Offering Circular, including but not limited to any statements about advertising, marketing. media support, media
penetration, training, store density, store locauons, support services and assistance, or the costs to establish or
operate a SUBWAY? restaurant, except for any statements you wrote in at Paragraph 15 :

1 You represent you understand the risks of owning a business and specifically the risks of owning a
SUBWAY¢® restaurant, and you are able to bear such risks You acknowledge the success of the Restaurant will
depend primarily on your own efforts and abilities and those of your employees, and you will have to work hard and
use your best efforts to operate the Restaurant You also acknowledge other factors beyond our or your control will

2

 
affect the Restaurant's success, including but not limited to, competition, demographic patterns, consumer trends,
Interest rates, economic conditions, government policies, weather, local laws, rules and regulations, legal claims,
inflation, labor costs, lease terms, market conditions, and other conditions which may be difficult to anticipate,
assess, or even identify You acknowledge that you are subject to all federal, state and local laws relating to the
franchise business You recognize some SUBWAY® restaurants have failed and more will fail in the future You
understand that your success will depend substantlally on the location you choose. You acknowledge our approval
of the location for the Restaurant does not guarantee the Restaurant's success at that location and the Restaurant
may lose money or fail

J This Agreement does not grant you any territorial rights ard we and our Affiliates have unlimited rights
to compete with you and to license others to compete with you

K. YOU UNDERSTAND AND ACKNOWLEDGE THAT PARAGRAPH 14 OF THIS AGREEMENT AMENDS
ANY EXISTING FRANCHISE AGREEMENTS YOU HAVE WITH US, to include the following provisions of this
Agreement Subparagraph 5 b (regarding compliance with applicable laws and Operations Manual), Subparagraph
5 c (cegarding payment of taxes, costs and expenses, responsibility for employment practices and employees,
insurance and Indemnification), Subparagraph 5 f (regarding reporting information electronically by personal
computer based point-of-sale system), Subparagraph 5 1 (regarding Increasing advertising contributions),
Subparagraph 5 m_ (regarding use of domain names), Paragraph 8 (regarding defaults and termination), Paragraph
10 (regarding dispute resolution), Subparagraph 11 f (regarding interest and late fees), Subparagraph 11m
(regarding no territorial rights and our unlimited right to compete), Subparagraph 11 n (regarding compifance with
anti-terrorism laws), Subparagraph 11.0 ( authorization to use personal information and to conduct an
Investigative background search), Paragraph 13 (regarding governing law, merger clause and continuing effect), and
Paragraph 17 (regarding Imitation of liability) :

L. YOU UNDERSTAND AND ACKNOWLEDGE ALL DISPUTES OR CLAIMS ARISING OUT OF OR RELATING
TO THIS AGREEMENT, EXCEPT FOR CERTAIN OF OUR CLAIMS DESCRIBED IN SUBPARAGRAPH 10d, WILL BE
ARBITRATED IN CONNECTICUT, UNDER PARAGRAPH 10 BELOW, IF NOT OTHERWISE RESOLVED

AGREEMENT:
Acknowledging the above recitals, we and you (the “partles’) agree

1. FRANCHISE FEES. When you sign this Agreement, you will pay us the Franchise Fee checked below,
which we will not refund except as we specifically provide for below [Check one]

a Standard Fee $12,500 You will pay our standard fee for a first or additional franchise. We may
refund one-half (1/2) of your Franchise Fee if you fail to achieve a passing score on the standardized test conducted
dunng the training program as provided in Subparagraph 5.a (2) If you sign this Agrcement. including the Specific
Location Rider, we may refund your Franchise Fee as provided in Subparagraph 5 a (1) of this Agreement as
amended by the Specific Location Rider

b Reduced Fee. $6,000 (i) You represent you are currenuy a SUBWAY? franchisee and all of your
franchises are in substantial compliance as defined in the Operations Manual (referenced in Subparagraph 5 b )
and there are no defaults under any Franchise Agreements, or (il) You are purchasing the first franchise for a
location that meets our qualifications for a non-traditional location or (iii) You are purchasing a franchise for a
location within an airport or other transportation facility and you qualify as a Disadvantaged Busmess Enterprise
as defined by the Code of Federal Regulations Title 49: Transportation If you are purchasing a franchise for a non
traditional location under clause (ii), we may disapprove the location within ninety (90) days, terminate this
Agreement and refund the Franchise Fee If any of these representations are not true (based upon the most recent
store evaluation) when the Restaurant opens, you agree to pay an additional $6,500

c Extension Fee $1,000 You previously signed a Franchise Agreement and paid a Franchise Fee but
did not sign a Sublease In the time permitted The original Franchise Agreement !s replaced by this Agreement
You agree to sign a Sublease within two (2) years with no right to any extension

d Satellite Fee $1,500 You will operate the Restaurant as a limited restaurant supported by an
existing Base Restaurant This Agreement for the Restaurant, including the Satellite Rider, 1s the separate
Franchise Agreement for the satellite restaurant We will refund the Franchise Fee for the satellite restaurant as
provided In Subparagraph 5 a(1) of this Agreement as amended by the Satellite Rider

Xe Add OnFee $8,500 Individuals who are existing SUBWAY® franchisees represent their franchises are
in substantial compliance with the Operations Manual and there are no defaults under any Franchise Agreements
The Franchise Fee is the reduced Franchise Fee of $6,000 plus an add-on fee of $2,500 to add individuals who are
not SUBWAY® franchisees If the representations of the existing franchisees are not true when a lease is signed,
you agree to pay an additional $4,000 We may refund your add-on fee of $2,500 if an individual is added to this

3

 

 
Agreement and faiJs to achieve a passing Score on our standardized test conducted during the training program as
provided in Subparagraph 5.a (2)

f School Lunch $0. A school board, schoo! district, municipality or Institutional food service provider (or
{ts nominee), or an individual existing franchisee is signing this Agreement to establish a restaurant in a school
(grades K-12). This Agreement Includes the School Lunch Rider

g Transfer $0 Franchise No owned by

 

: (‘Seller’) was transferred to you (Seller
may have paid a transfer fee.) The Seller's Franchise Agreement !s replaced by this Agreement

 

h. Amendment or Renewal $0 This Agreement replaces and/or renews the Franchise Agreement dated

 

2. ROYALTY PAYMENTS. You will pay us weekly a Royalty equal to eight percent (8%) of the gross sales
from the Restaurant and each sandwich restaurant you operate throughout the term of this Agreement “Gross
sales" means all sales or revenues, Including catering and delivery, from your business exclusive of Sales Tax (as
defined in Subparagraph 5 c)

3. PERMITTED ACCESS TO THE SYSTEM AND MARKS. We grant to you during the term of this
Agreement

a Continued access to the System, including the loan of a copy of the Operations Manual

b. Continued access to information pertaining to new developments, improvements, techniques and
processes in the System

c A limited, non-exclusive license to use the Marks in connection with the operation of the Restaurant at
one (1) location at a site we and you approved

4. OUR OBLIGATIONS. We will provide you during the term of this Agreement

a. A training program for establishing and operating a restaurant using the System, at a location we
choose You will pay all transportation, lodging, and other expenses to attend the training program

b A representative or development agent of ours to call on during our representative's or development
agent's normal business hours for consultation concerning the operation of the Restaurant

c. A program of assistance, including periodic consultations with our representative or development agent
in a location we choose, a newsletter advising of new developments and techniques in the System, and access
during thelr normal business hours to specified office personnel you may call for consultations concerning the
operation of the Restaurant

5. YOUR OBLIGATIONS. You agree to do the following

a Inregards to the Sublease for the Restaurant"

(QQ) You will sign a Sublease or In limited circumstances a license for the Restaurant (“Sublease”)
within two (2) years after signing this Agreement If you do not, this Agreement will
automatically expire unless you i) request and are granted an extension, tl) pay an extension
fee of $1,000 US, and lil) sign our then current franchise agreement

(2) Before opening, you must successfully complete the tralning program we provide under
Subparagraph 4a You may be dismissed from the training program and this Agreement may
be terminated if you fail to act in a professional mannee at all times during the training
program in accordance with our Business Code of Conduct Your Franchise Fee will not be
refunded You may be required to achieve a passing score on our standardized test conducted
during the training program If you fail to achieve a passing score, you will have the option to
take one final retest If you fail to achieve a passing score on the final retest or you opt not to
take the final retest, we may dismiss you from the training program. cancel this Agreement and
refund one-half (1/2) of your Franchise Fee If more than one individual signs this Agreement,
any one of the individuals who does not achieve a passing score on the test may be dismissed
from the training program, removed from this Agreement and no portion of the Franchise Fee
will be refunded.We will not relmburse you for your travel expenses

(3) The Restaurant will be at a location found by you and approved by us We or an Affilate we
designate will lease the premises and sublet them to you We or our designee will attempt to
secure a fair rent for the premises but we cannot represent it will be the best available rent in

4

 
your area If you materially breach this Agreement or the lease, we or our designee may
terminate the Sublease with you after giving the notice required in the Sublease

(4) After you sign the Sublease, you will construct, equip, and open the Restaurant to the
specifications contained in the Operations Manual

b You will operate your business in compliance with applicable laws and governmental regulations.
including, but not limited to, those concerning fabor, taxes, health, and safety You will obtain and keep in
force, at your expense, any permits, licenses, registrations, certifications or other consents required for leasing,
constructing, or operating the Restaurant You may be required by local Jaw to participate in a waste recycling
or diversion program which may require that you register and make ongoing fee payments Upon request, you
will forward to us copies of any documentation relating to these items :

You will operate the Restaurant In accordance with our Operations Manual (the “Operations Manual’),
which contains mandatory and suggested specifications, standards and operating procedures, which may be
updated from time to time as a result of experience, or changes in the law or marketplace You will make, at your
sole expense, changes necessary to conform to the Operations Manual, including, but not limited to, repairing
items not in good condition or not functioning properly, and upgrading and remodeling the Restaurant, including
leasehold improvements, furniture, fixtures, equipment, and signs You acknowledge these requirements are
necessary and reasonable to preserve the identity, reputation, and goodwill we developed and the value of the
franchise You agree to make the repairs and the updates, and pay all reasonable, required costs within
reasonable time periods we establish You will adhere to quality control standards we prescribe in the Operations
Manual or elsewhere with respect to the character or quality of the products you will sell or the services you will
perform in association with the Marks You must respond to and satisfy all customer complamts If you fall to
operate the Restaurant in accordance with the Operations Manual, we may terminate this Agreement undec
Subparagraphs 8 a and 8.b _In liew of termination, we may Impose a fee as a pre-estimate of losses for each day
the Restaurant is not in compliance with the Operations Manual to compensate us for damages and for costs we
incur to compel you to bring the Restaurant into compliance The Operations Manual, as amended from time to
time, Is Intended to further the purposes of this Agreement and Is specifically incorporated into this Agreement
The Operations Manual constitutes a confidential trade secret and will remain our property You may not, and you
may not allow others to, reproduce or photocopy the Operations Manual, in whole or in past, without our written
consent You will not conduct any business or sell any products at the Restaurant other than the business and
products we approve for the location

c You will be solely responsible for all costs of building and operating the Restaurant. including, but not
limited to, sales or use tax, goods and services tax, gross receipts tax. excise tax or other similar tax (“Sales Tax’),
other taxes, fees, customs, stamp duty, other duties, governmental registrations, construction costs and permits,
equipment, furniture, fixtures, signs, advertising, insurance, food products, labor, utilities, and rent We will not
have any hability for these costs You will pay any Sales Tax imposed by Jaw on the Franchise Fee, Royalty,
advertising fees, and any other amounts payable under this Agreement, whether assessed on you oronus If we
must make the payment to the taxing jurisdiction for any Sales Tax that is your responsibility under this
Agreement, we will pass the amount on to you and you will relmburse us You must register to collect and pay
Sales Taxes before you open the Restaurant, and you must maintain these registrations during the term of this
Agreement You will recruit, hire, train, terminate, and supervise al] Restaurant employees, set pay rates, and pay
all wages and related amounts, Including any employment benefits, unemployment insurance, withholding taxes or
other sums, and we will not have any responsibility for these matters

The Insurance you must obtain and maintain includes, but Js not limited to, statutory worker's
compensation in the minimum amount required by law, comprehensive liability insurance, including products
Hability coverage, in the minimum amount of $2,000,000 per occurrence/ $4,000,000 general aggregate, and
business vehicle coverage, including hired and non-owned vehicle liability coverage, in the minimum amount of
$3,000,000 You must provide us with a copy of your Certificate of Insurance when you return your signed
Sublease or finalize your lease You will keep all insurance policies in force for the mutual benefit of the
parties With the exception of worker's compensation and owned vehicle coverage, all insurance policies must
name as additional insureds, us, our Affitates, our Development Agent assigned to the Restaurant (the
“Development Agent’), and our agents, representatives, shareholders, directors, officers and employees, and
those of our Affillates and the Development Agent (the “Additional Insureds’), with such coverage being primary
coverage Your insurance company must agree to give us at least twenty (20) days’ prior written notice of
termination, expiration, material modification, or cancellation of your policy, or cancellation of any of the
Additional Insureds as an additional insured You agree to defend, indemnify, and save harmless, the
Additional Insureds, from and against all Ilability, injury, loss, cost and expense of any type (Including lawyers’
fees), and damages that arise in or in connection with your operation of the Restaurant, regardless of cause or
any fault or negligence (including sole or concurrent negligence) by the Additional Insureds, which
Indemnification will not be relieved by any insurance you carry You acknowledge we may modify or increase
the Insurance requirements during the term of this Agreement due to changes in experience, and you agree to
comply with the new requirements You acknowledge we may from time to time designate one or more
approved insurance brokers or companies under a master insurance program we establish for franchisees

5

 

 
generally, and you must purchase your coverage from one of the approved insurance brokers and their
associated company

: d You will not own or operate, or assist another person to own or operate, any other business anywhere,
directly or Indirectly, during the term of this Agreement, which is identical with or similar to the business
reasonably contemplated by this Agreement, except as our authorized representative or as our duly licensed
franchisee at a location we approve You agree to pay us $12,500 for each business you own or operate in violation
of this Subparagraph, plus eight percent (8%) of its gross sales, as being a reasonable pre-estimate of the damages
we will suffer We may also seek to enjoin your activides under Subparagraph 10.d

e You will sign and deliver to us appropriate electronic funds transfer preauthorized draft forms (or forms
serving the same purpose) for the Restaurant's checking account before you open the Restaurant By signing these
forms, you authorize us to withdraw money from the account on a timely basis to collect the appropriate Royalty,
contributions to the Subway Franchisee Advertising Fund Trust, interest, late fees, and other charges that you will
owe, under this Agreement or under any other Franchise Agreement you have with us You authorize us to collect
amounts you owe to the Subway Franchisee Advertising Fund Trust under our own name, for unpaid advertising
contributions.

f You will report your gross sales by telephone, facsimile, electronically, or by other means we permit,
within two (2) days after the end of the business week (currently Tuesday) You will submit weekly summaries
showing results of the Restaurant's operations by the following Saturday, in writing or In electronic form, as we
permit, te locations we designate You will use and maintain at the Restaurant a personal computer based point-
of-sale system and software compatible with our requirements At all times during the term of this Agreement you
will use and maintain an address to send and receive electronic mall and attachments on the Internet and access
to the World Wide Web You agree to install additions, substitutions, and upgrades to the hardware, software, and
other items to maintain full operational efficiency and to keep pace with changing technology and updates tw our
requirements You will record all sales and designated business information jn your system Jn the manner we
specify in the Operations Manua) You will report your information to us electronically at weekly or other intervals
we specify. You also agree we may call up or poll your system to retrieve the information at any time We may
estimate gross sales If you fail to report on time We may withdraw money from your checking account for Royalty
and advertising contributions under the above Subparagraph, for the amounts then due based on reported or
estimated sales. We will adjust charges based on estimated gross sales after we determine actual sales

g You will allow our representatives and our development agent and our development agent's
representatives to enter your business premises without prior notice during regular business hours to inspect,
audit, photocopy, and videotape your business operations and records, and to interview the Restaurant's
employees and customers You will keep all of the following at the Restaurant for a period of three (3) years cash
register tapes, control sheets, weekly inventory sheets, deposit slips, bank statements and canceled checks, sales
and purchase records, business and personal tax returns, and accounting records You also grant us permission
to examine without prior notice to you, all records of any supplier relating to your purchases

h You will pay us, 1f we or our representatives determine that you under-reported gross sales, all Royalty,
advertising contributions and other charges due on the gross sales that were not reported, plus interest and the
late fee as provided In Subparagraph 11f {reported gross sales for any calendar year are less than ninety-eight
percent (98%) of the actual gross sales for that period, you will relmburse us for all costs of the investigation that
discovered the under-reporting, including salaries, outside accountant fees, travel. meals, and lodging You agree
to pay for all costs of any audit that did not occur due to your failure to produce your books and records at the time
of audit if we notified you in writing of the audit at least five (5) days before the scheduled date If you fail to submit
all of your information to be audited, we may estimate your sales and charge you

4 You will pay weekly into the Subway Franchisee Advertising Fund Trust ("“SFAFT’), four and one-half
percent (4 ¥%%) of gross sales of the Restaurant At any time, franchisees may temporarily or permanently increase
the advertising percentage for elther the country or any market designated by SFAFT by a two-thirds (2/3) vote on
the basis of one (1) vote for each operating restaurant We and our Affiliates or another entity acting on behalf of
our franchisees may negotiate advertising contributions and programs with suppliers We or our Affiliate may
designate that advertising contnbutions be forwarded to SFAFT or be placed Into an advertising fund to be spent at
our or our Affiliate’s complete unrestricted discretion for the benefit of franchisees You acknowledge advertising
contributions may not benefit franchisees In any area in proportion to the amounts they paid

j You will not place "For Sale” or similar signs at or in the general vicinity of the Restaurant or use any
words 1n any advertising that identify the business offered for sale as a SUBWAY® restaurant

& You will make prompt payment of all charges you owe to us, our Affiliates, your vendors, and the
landlord of the premises, in addition to Royalty and advertising contributions to SFAFT, and pay ail Sales Tax,
other taxes, and debts of the Restaurant as they become due

6

 

 
1 You will use or display the Marks on materials and stationery used in connection with the Restaurant
only as we permit and as provided In this Agreement or In the Operations Manual You will display the following
notice in a prominent place at the Restaurant "The SUBWAY® trademarks are owned by Doctor's Associates
Inc. and the independent franchised operator of this restaurant is a licensed user of such trademarks.”

m You will operate and promote the Restaurant under the name SUBWAY® or other name we direct
without prefix or suffix added to the name You will not use the word "SUBWAY" as part of a corporate or other
business name You will not license or purchase vehicles, fixtures, products, supplies or equipment, or incur any
obligations except in your individual, corporate or other business name Any sign face bearing the name SUBWAY®
will remain our property even though you may have paid a third party to make the sign face You will not use the
Marks in a manner that degrades, diminishes, or detracts from the goodwill associated with the Marks nor will you
use the Marks Jn a manner which fs scandalous, immoral, or satirical. You agree to promptly change the manner
of such use If reqitested to do so by us. You will not establish a local domain name for a website using the word
“SUBWAY” without our prior written authorization The domain name must be registered under the name of DAI
We will require you to cancel your registration of the domain name if you fall to obtain our prior written
authorization At our request, you must remove any Inappropriate information we deem not to be in the best
Interest of the SUBWAY® franchise system. All present or future goodwill associated with the Marks belongs to us
You agree not to contest the validity or ownership of any of the Marks, or to assist any other person to do so You
agree you do not have and you will not acquire any ownership rights In the Marks, and you will not register or
attempt to register any of the Marks You agree to assign and transfer to us your rights In or registrations of the
Marks that you have or may have All references to the Marks in this Agreement include any additional or
replacement Marks associated with the System that we authorize you to use

n You will always indicate your status as an independent franchised operator and franchisee to others
and on any document or information released by you in connection with the Restaurant

o You acknowledge the System Includes confidential and proprietary Information, including, but not
Imited to customer lists, vendor lists, products, recipes, formulas, specifications, food preparation procedures,
devices, techniques, plans, business methods and strategies, organizational structure, financial information,
marketing and development plans and strategies, advertising programs, creative materials, media schedules,
business forms, drawings, blueprints, reproductions, data, Franchise Agreements, business Information related
to franchisees, pricing polices, trademarks, published materials including the mark SUBWAY® and variations
thereof, documents, letters or other paper work, trade secrets, know-how, information contained in the
Operations Manual, and the Subway to Subway publication, and all information we or our AlBliates designate
as confidential ("Confidential Information’). Confidential Information will remain our property or our Affiliate’s

property

During the term of this Agreement you will not, without the express written consent of our board of directors,
disclose, publish, or divulge any Confidential Information to any person, firm, corporation or other entity, or
use any Confidential Information, directly or indirectly, for your own benefit or the benefit of any person, firm,
corporation or other entity, other than for our benefit You agree that you will only disclose such Confidential
Information to those employees that need such Confidential Information in the course of thelr duties and shall
only reveal or transmit the Confidential Information to them after advising them that the Confidential
Information has been made available to you subject to this Agreement and they agree to be bound by the
confidentiality terms of this Agreement You acknowledge that If you violate this provision, substantial Injury
could result to us, our Affliates, you and other SUBWAY® franchisees _If you violate this provision, you will be
Hable to us for our damages and we may also seek to enjoin your activities under Subparagraph 10.d You will
return all written Confidential Information, including all reproductions and copies thereof promptly upon our
request In the event that you are requested or required (by oral interrogatories, requests for information or
documents in legal proceedings, subpoena, civil investigative demand or similar process) to disclose any part of
Confidential Information, you shall provide us with prompt written notice of any such request or requirement
so that we may seek a protective order or other appropriate remedy and/or waive compliance with the
provisions of this Subparagraph If in the absence of a protective order or other remedy or waiver, you are
legally compelled to disclose Confidential Information to any tribunal or else stand liable for contempt or suffer
other censure or penalty, you may, without lability hereunder, disclose to such tribunal only that portion of
Confidential Information which your legal counsel advises that you are legally required to disclose

Confidential Information shall not include, and the foregoing restrictions shall not apply to, any information or
materials (a) which becomes generally known to the public other than as a result of a disclosure by you or your
representative, (b) which was known to you and reduced to written form in documents which were in your
possession at the time such information was disclosed to you, provided that the source of such information or
materials was not known by you to be bound by a nondisclosure agreement with other contractual, legal or
fiduciary obligations of confidentiality to us or any other party with respect to such information or materials, (c)
becomes available to you on a non-confidential basis from a source other than us. provided that such source is
not bound by a nondisclosure agreement with other contractual, legal or fiduciary obligations of confidentiality
to us or any other party with respect to such Information or materials, or (d) which is independently developed
7

 
by Recipient without the use of Confidential Information. The burden of proving that Confidential Information
may be disclosed pursuant to the exception set forth in this subparagraph shall be on the Recipient

6. RELOCATION OF THE RESTAURANT. You may relocate the Restaurant only with our prior written
approval If the lease expires and is not renewed, or If the landlord terminates the lease, you will have one (1) year
to relocate the Restaurant provided you did not breach the Sublease You will pay all expenses and liabilities to
terminate the leage and move if you relocate the Restaurant. Ifyou materially breach this Agreement, we or our
designee may cance} the Sublease with you after giving the notice required in the Sublease .

7. TERM OF AGREEMENT. If, under local law, this Agreement must be registered then it will not become
effective until it is The term of this Agreement is twenty (20) years from the date of this Agreement and will
automatically renew for additional twenty (20) year periods unless elther party chooses not to renew and sends
written notice to the other at least six (6) months before the expiration of any twenty (20) year perlod Upon renewal
you have the option to either !) continue under the terms of this Agreement and the royalty rate will increase to ten
percent (10%) with all other terms and conditions of this Agreement remaining the same, or Ii) you may sign our
then current Franchise Agreement which will replace this Agreement and which may contain terms or conditions
that differ from this Agreement, including financial terms, except for the royalty rate which will remain at elght
percent (8%) This Agreement will be automatically renewed under option }) unless you send written notice of your
intent to renew under option ii) at least six (6) months prior to expiration of this Agreement There will be no
renewal fee

8. TERMINATION AND EXPIRATION PROVISIONS.

a If we give you ten (10) days’ written notice, we may, at our option and without prejudice to any of
our other rights or remedies provided under this Agreement, terminate this Agreement if (i) you abandon the
Restaurant, or ({i) you fail to pay any tnoney you owe us, our Affiltates, SFAFT, the landlord of the premises, or
any amounts we may become Hable to pay because of your action or omission, or (Iii) you are evicted from the
Restaurant location for non-payment of rent or related charges The notice wil) specify the default and provide
you ten (10) days to remedy the default from the date of delivery of the notice

b. If we give you ninety (90) days’ written notice, we may, at our option and without prejudice to any of our
other rights or remedies provided under this Agreement, terminate this Agreement if you (}) do not substantially
perform all of the terms and conditions of this Agreement not otherwise covered in Subparagraph 8 a , or (ii) you
lose possession of the premises where the Restaurant is located, or (Il!) you under-report your gross sales by two
percent (2%) or more for a calendar year, or (iv) you become insolvent. make an assignment for the benefit of
creditors or seek bankruptcy relief, elther reorganization or liquidation, in any court, legal or equitable, or (v) you
lose any permit or hcense which you need to operate the Restaurant, or (vi) you fall to comply with your duties
under this Agreement or the Operations Manual The notice will specify the default and provide you sixty (60) days
to remedy the default from the date of delivery of the notice. If you cure the default within sixty (60) days, the
notice will be void

c We may, at our option and without prejudice to any of our other rights or remedies provided under this
Agreement, terminate this Agreement without an opportunity to remedy the default unless prohibited by law if i)
you fal] to operate your business in compliance with applicable laws and government regulations, or if) you are
convicted of an indictable offense, fraud or unfair or deceptive practices or otherwise engage in any acts of moral
turpitude, or ill) we determine that you are a suspected terrorist or otherwise assoclated directly or indirectly with
terrorist activiules, or iv) you are dismissed from the training program

Beginning with a second notice of default under Subparagraph 8 a or 8 b., we may Include a clause that because
of repeated cause for termination, your subsequent repeat of a given default in the next twelve (12) months will be
good cause for a final termination without providing you the opportunity to remedy the default or even if you
remedy the default

ad Qur waiver of any of your defaults will not constitute a waiver of any other default and wil] not prevent
us from requiring you to strictly comply with this Agreement

e Upon termination oc expiration of this Agreement, all of your rights under this Agreement will
terminate You must change the appearance of the Restaurant, unless we instruct you otherwise, so it will no
longer be identified as a SUBWAY® restaurant, and you must stop using the System, including the Marks,
signs, colors, structures, personal computer based point-of-sale system software developed for SUBWAY?
restaurants, printed goods and forms of advertising Indicative of our sandwich business and return the
Operations Manual to us You are required to cancel any permits, licenses, registrations, certifications or other
consents required for leasing, constructing, or operating the Restaurant If you fail to do so within a
reasonable time, we are authorized to cancel them for you If you breach this provision, you will pay us $250
per day for each day you are in default, as being a reasonable pre-estimate of the damages we will suffer We
may also seek to enjoin your activities under Subparagraph 10 d

8

 
f If any of the provisions above which permit us to terminate the franchise violate your state law. if it
applies, such state law relating to termination will prevail over the offending provisions

g For one year after the termination, expiration or transfer of this Agreement, you will not directly or
Indirectly engage in, or assist another to engage in, any sandwich business within three (3) miles of any location
where a SUBWAY® restaurant operates or operated in the prior year You agree to pay us $12,500 for each
sandwich business location you are associated with in the restricted area In violation of this Subparagraph, plus
elght percent (8%) of the gross sales of such location during the one (1) year period, as being a reasonable pre-
estimate of the damages we will suffer We may also seek to enjoin your activities under Subparagraph 10d
Nothing In this Subparagraph or any other provision of this Agreement grants you any territorial or other exclusive
dights :

h Upon termination, expiration or transfer of this Agreement, you agree to remain bound by the
provisions of confidentiality and non-disclosure under Subparagraph 5 0 of this Agreement You acknowledge
that all Confidential Information will remain our property or our Afiilate's property You will not at any time
after termination, expiration or transfer of this Agreement, without our pdr written consent, disclose to any
unauthorized person or entity, or use for the benefit of any unauthorized person or entity, any Confidential
Information

1 Upon termination or expiration of this Agreement, all telephone listings, telephone numbers, Internet
addresses and domain names used by the public to communicate with the Restaurant will automatically become
our property if permitted by state law In any event, you agree not to use any telephone numbers, Internet
addresses or domain names associated with the Restaurant after the termination or expiration of this Agreement

j. We have the right to repurchase the Restaurant within thirty (30) days of termination or expiration of
this Agreement at fair market value minus any money you owe us, our affiliates or the landlord. If we do not
purchase the Restaurant, you are responsible for obtaining a termination and mutual release of the lease from
the Jandlord of the premises on which the Restaurant ts located You are responsible for all costs associated
with obtaining the termination and mutual release, Including but not limited to any amount owed to the
landlord

9. TRANSFER AND ASSIGNMENT OF THE RESTAURANT.

a You may only transfer the Restaurant with this Agreement and only with our prior written approval, as
provided in this Paragraph 9 You may transfer the Restaurant and this Agreement to a natural] person or persons
(not a corporation), provided: (1) you first offer, in writing, to se)! the Restaurant to us on the same terms and
conditions offered by a bona fide third party purchaser, we fall to accept the offer within thirty (30) days, and we
approve your contract with the purchaser, (2) each purchaser has a satisfactory credit rating, and is of good moral
character, (3) each purchaser received a passing score on our standardized test (if not already a SUBWAY®
franchisee) and attended and successfully completed our training program or agrees to attend our first available
training program promptly after the sale (and then must successfully complete the training program or will be in
default under the Franchise Agreement), (4) each purchaser received the required disclosure documents In
accordance with our policles and federal and state laws, rules, and regulations, and signs the then current form of
Franchise Agreement which will amend and replace this Agreement and may contain terms that differ from this
Agreement, Including financial terms, and assumes the Sublease for the Restaurant, (5) you pay in full all money
you owe us, our Affiliates, and SFAFT, for all your SUBWAY® restaurants and you are not otherwise in default
under this Agreement, (6) you pay us $5,000 (plus any applicable Sales Tax) for our legal, accounting, training, and
other expenses we Incur In connection with the transfer, (7) you deliver a general release In favor of us, the
Development Agent and our Affiliates, and agents, representatives, shareholders, partners, directors, officers, and
employees of ours and of the Development Agent and our Affiliates signed by you and each purchaser, (8) you
transfer the Operations Manual for the Restaurant to the purchaser on the date of transfer, and (9) at or prior to
the time of the transfer you bring the Restaurant into full compliance with our then current standards set forth in
the Operations Manual All transfer documents will be in English in a form satisfactory to us

b You may assign your rights under this Agreement to operate the Restaurant (but not this Agreement) to
a corporation (or similar entity) provided (1) the corporation Js newly organized and its activities are confined
exclusively to operating the Restaurant, (2) you are, and remain at all times, the owner of the controlling interest of
the corporation, (3) the corporation delivers to us a written assumption of your obligations under this Agreement,
(4) all shareholders of the corporation deliver to us a written guarantee of the full and prompt payment and
performance by the corporation of all Jts obligations to us under the assignment, (5) you acknowledge to us in
writing that you are not relieved of any personal liability, and (6) you deliver a general release described in
Subparagraph 9.a , signed by you, the corporation, and each shareholder of the corporation You will also remain
personally hable under the Sublease

 

 
e Your rights under this Agreement may pass to your next of kin or legatee upon your death. Each such
transferee must receive a passing score on our standardized test (if not already a SUBWAY® franchisee}, deliver a
written assumption to us, and agree in writing to attend our next training session Each transferee must then
successfully complete our tralning program or will be in default under this Agreement The transferees will also
assume the Sublease in writing

d. We may transfer and assign this Agreement without your consent, and this Agreement will inure to the
benefit of our successors and assigns

10. ARBITRATION OF DISPUTES.

a Any dispute, controversy or claim arising out of or relating to this Agreement or the breach thereof
shall be settled by arbitration The arbitration shal] be administered by an arbitration agency, such as the
American Arbitration Association (“AAA’) or the American Dispute Resolution Center, in accordance with its
administrative rules including, as appilcable, the Commercial Rules of the AAA and under the Expedited
Procedures of such rules or under the Optional Rules For Emergency Measures of Protection of the AAA Judgment
rendered by the Arbitrator may be entered Jn any court having jurisdiction thereof The.costs of the arbitration will
be borne equally by the parties The parties agree that Bridgeport, Connecticut shall bé the site for all hearings held
under this Paragraph 10, and that such hearings shall be before a single arbitrator, not a panel, and neither party
shall pursue class claims and/or consolidate the arbitration with any other proceedings to which we are a party
We will honor validly served subpoenas, warrants and court orders

b. If you breach the terms of your Sublease, the Sublessor, whether us or our designee, may exercise Its
cights under the Sublease, including to evict you from the franchised location Any action brought by the
Sublessor to enforce the Sublease, including actions brought pursuant to the cross-default clause in Paragraph 6
of the Sublease (which provides that a breach ofthe Franchise Agreement 1s a breach of the Sublease), is not to be
construed as an arbitrable dispute , ,

The parties agree that you may seek a stay of any eviction brought under the cross-default clause In Paragraph 6 of
the Sublease by filing a demand for arbitration in accordance with Subparagraph 10 a within thirty (30) days of
the Sublessor's commencement of the eviction The stay may be lifted upon conclusion of the arbitration You may
not seek a stay of eviction for any actions involving non-payment of rent or in a case where an arbitration award
under the Franchise Agreement has been issued

c You may only seek damages or any remedy under law or equity for any arbitrable claim against us or
our successors or assigns You agree that our Affillates, shareholders, directors, officers, employees, agents and
representatives, and their affiliates, shall not be liable nor named as a party In any arbitration or litigation
proceeding commenced by you where the claim arises out of or relates to this Agreement You further agree that the
foregoing parties are intended beneficiaries of the arbitration clause, and that all claims against them that arise out
of or relate to this Agreement must be resolved with us through arbitration If you name a party in any arbitration
or litigation proceeding in violation of thls Subparagraph 10.c., you will retmburse us for reasonable costs incurred,
including but not limited to, arbitration fees, court costs, lawyers’ fees, management preparation time, witness fees,
and travel expenses Incurred by us or the party

d Notwithstanding the arbitration clause in Subparagraph 10 a , we may bring an action for
injunctive relief in any court having jurisdiction to enforce our trademark or proprietary rights, the covenants not to
compete, or the restriction on disclosure of Confidential Information in order to avoid irreparable harm to us, our
affilates and the franchise system as a whole

e Any disputes concerning the enforceability or scope of the arbitration clause shall be resolved pursuant
to the Federal Arbitration Act, 9 US C. § et seq (‘FAA’), and the parties agree that the FAA preempts any state law
restrictions (Including the site of the arbitration) on the enforcement of the arbitration clause in this Agreement If,
prior to an Arbitratar’s final decision, either we or you commence an action in any court of a claim that arises out of
or relates to this Agreement (except for the purpose of enforcing the arbitration clause or as otherwise permitted by
this Agreement), that party will be responsible for the other party's expenses of enforcing the arbitration clause,
including court costs, arbitration filing fees and other costs and attorney's fees

f We and our Affiliates, and you and your Affiliates, will not withhold any money due to the other party
and its Affiliates, under this Agreement or any other agreement A party or its Affiliate that withholds money in
violation of this provision will reimburse the party or its Affiliate whose money is withheld for the reasonable costs
to collect the withheld money, notwithstanding the provisions of Subparagraph 10 a These costs Include, but are
not limited to, mediation and arbitration fees, court costs, lawyers’ fees, management preparation time, witness
fees, and travel expenses incurred by the party or its Affiliate or SFAFT, or its agents or representatives

10

 

 
g Ifa party (i) commences action in any court, except to compel arbitration, or except as specifically
permitted under this Agreement, prior to an arbitrator's final decision, or (ii) commences any arbitration in any
forum except where permitted under this Paragraph 10, or (ii!) when permitted to commence a litigation proceeding,
commences any litigation proceeding In any forum except where permitted under this Paragraph 10, then that
party is in default of this Agreement. The defaulting party must commence arbitration (or a litigation proceeding, if
permitted under this Paragraph 10), in a permitted forum prior to any award or final judgment. The defaulting
party will be responsible for all expenses incurred by the other party, including lawyers’ fees Subject to federal or
state law, Ifa party defaults under any other provision of this Paragraph 10, or under any provision of Paragraph
17 or Paragraph 18, including, but not limited to, making a claim for special, incidental, consequential, punttive, or
multiple damages, or damages in excess of the amount permitted under this Agreement, or you name a person or
entity In any arbitration or legal proceeding other than us, the defaulting party must correct its claim. The
defaulting party will be responsible for all expenses incurred by the other party, or the improperly named persons
or entities, Including lawyers’ fees, and will be lable for abuse of process

11. OBLIGATIONS OF THE PARTIES. The partles also agree as follows

a You are, and will at all times be identified as, a natural person and an independent contractor You are
not our agent, partner, oremployee This Agreement does not create a partnership, joint venture, agency, or
fiduciary relationship

/ b Allor any part of your rights and privileges under this Agreement will return to us if for any reason you
abandon, surrender, or suffer revocation of your rights and privileges

c If, for any reason, any court, agency, or tribunal with valid jurisdiction In a proceeding to which we are a
party, decides in a final, non-appealable ruling, that a portion of this Agreement ts contrary to, or in conflict with
any applicable present or future law, rule, or regulation, after giving such portion the broadest legal interpretation
possible, then that portion will be Invalid and severable The remainder of this Agreement will not be affected and
will continue to be given full force and effect Any invalid portion will be deemed not to be a part of this Agreement
as of the date the ruling becomes final if you are a party to the proceedings, or upon your recelpt of notice of
nonenforcement from us_ If a court, agency, or tribunal decides a covenant not to compete is too broad as to scope,
time, or geographic area, the parties authorize the court, agency or tribunal to modify the covenant to the extent
necessary to make it enforceable .

d_ No previous course of dealing or usage in the trade not specifically set forth in this Agreement will be
admissible to explain, modify, or contradict this Agreement

e The parties will give any notice required under this Agreement in writing, and will send it by certified
mail, registered mail or by a mail service which uses a tracking system, such as Airborne Express or Federal
Express We will address notices to you at the Restaurant or at your home until you designate a different address
by written notice to us You must notify us of any address changes, including changes to your electronic mail
address. You will address notices to us to Doctor's Associates Inc , 325 Bic Drive, Milford, CT 06460-3059,
Attention Legal Department Any notice will be deemed given at the date and time it Is received, or refused, or
delivery is made impossible by the intended recipient

‘

f If your payment is more than one (1) week late you will pay a late fee equal to ten percent (10%) on any
Royalty, advertising contributions, or other charges you will owe us under this Agreement Also, you will pay
Interest on all your past-due accounts at up to elghteen percent (18%), but the late fee and interest will not be
greater than the maximum rete allowed by law in the state in which our principal office is located or the Restaurant
Js located, whichever is higher

g You must immediately notify us of any infringement of or challenge to your use of any of the Marks, or
claim by any person of any rights in any of the Marks We will indemnify you for all damages for which you are
held lable in any proceeding arising out of the use of any of the Marks in compliance with this Agreement, provided
you notify us promptly, cooperate in the defense of the claim, and allow us to control the defense of the action Ifa
third party challenges any of the Marks claiming infringement of alleged prior or superior rights in the Mark, we
will have the option and right to modify or discontinue use of the Mark and adopt substitute Marks in your
geographical business areas and in other areas we select. Our liabrbty to you under such circumstances will be
limited to your cost to replace signs and advertising materials You acknowledge and agree we have the exclusive
right to pursue any trademark infringement claims against third parties

h_ If we must purchase the Restaurant's equipment, leasehold improvements, or both, under any
applicable state law, rule, regulation, or court decision, ifwe terminate this Agreement, the purchase price will be
your original cost, less depreciation and amortization, based on a flve (5) year life under the straight-line method

{, If the landlord terminates the Jease for the Restaurant and an arbitrator or court determines you did not
breach the Sublease and it was our fault or our Affillate’s fault the landlord terminated the lease, our obligation to

11

 

 
you will be limited to the original cost of your leasehald improvements, less depreciation based on a five (5) year life
under the straight-line method We will pay you when you reopen the Restaurant in a new location IF the
arbitrator or court determines you breached the Sublease or it was.not our fault or our Affiliate’s fault the landlord
terminated the Jease, we and our Affiliate will have no obligation to you for termination of the lease

j If we are in default under this Agreement, you may give us written notice by certified mail, registered
mail or by a mail service which uses a tracking system, such as Airborne Express or Federal Express, within ninety
(90) days of the start of the default clearly stating each act or omission constituting the default If we do not cure
the default to your satisfaction within sixty (60) days after we receive your notice, you may give us notice that an
arbitrable dispute exists The parties will work dillgently to attempt to resolve the arbitrable dispute in accordance
with Paragraph 10

k You will pay us Sales Tax or other tax assessed on all payments you make to us that we must collect
from you or pay ourselves to the taxing authority

1 You will pay us any applicable Sales Tax or other tax on behalf of the local taxing authority at the same
time and in the same manner you pay for the taxable goods or services, whether or not the requirement is
specifically stated in this Agreement

m. You understand and acknowledge this Agreement does not grant you any territorial rights and there
are no radjus restrictions or minimum population requirements which limit where we can license or open another
SUBWAY? restaurant, unless provided under applicable state law We and our Affiliates have unlimited rights to
compete with you and to license others to compete with you You understand and acknowledge we and our
Affiliates retain the exclusive unrestricted right to produce, distribute, and sell food products, beverages. and other
products, under the SUBWAY® mark or any other mark, directly and indirectly, through employees,
representatives, licensees, assigns, agents, and others, at wholesale, retail, and otherwise, at any location, withoul
restriction by any right you may have, and without regard to the location of any SUBWAY? restaurant, and these
other stores or methods of distribution may compete with the Restaurant and may adversely affect your sales You
do not have any right to exclude, control, or impose conditions on the Jocation or development of any SUBWAY®
restaurant, other restaurant, store or other method of distribution, under the SUBWAY® mark or any other mark

n You acknowledge It is our intent to comply with all anti-terrorism laws enacted by the US Government
You further acknowledge that we may not carry on business with anyone officially recognized by the US
Government as a suspected terrorist or anyone otherwise associated directly or indirectly with terrorist activities
The parties agree that if, at any time during the term of this Agreement, it is determined that you are a suspected
terrorist or otherwise associated directly or indirectly with terrorist activities, that thls Agreement will be terminated
immediately You acknowledge that you are not now, and have never been a suspected terrorist or otherwise
associated chrectly or indirectly with terrorist activity, including but not Limited to, the contribution of funds to a
terrorist organization You further acknowledge that it is not your Intent or purpose to purchase a SUBWAY®
franchise to fund or participate In terrorist activites

o You understand and acknowledge that, from time to time, circumstances may arise where we are
required to conduct an investigative background search You authorize us or our designee to conduct such an
investigative background search, as necessary, which may reveal information about your business experience,
educational background, criminal record, civil judgments, property ownership. liens, association with other
individuals, creditworthiness and job performance

12. TERMS, REFERENCES AND HEADINGS. All terms and words in this Agreement will be deemed to
include the correct number, singular or plural, and the correct gender, masculine, feminine, or neuter, as the
context or sense of this Agreement may require Each individual signing this Agreement as the franchisee will be
jointly and severally lable References to "you" will Include all such individuals collectively and individually
References to dollars ($) in this Agreement refer to the lawful money of the United States of America The
paragraph headings do not form part of this Agreement and shall not be taken into account In its construction ot
Interpretation

13. GOVERNING LAW, This Agreement will be governed by and construed In accordance with the
substantive Jaws of the State of Connecticut, without reference to its conflicts of law, except as may otherwise be
provided in this Agreement The parties agree any franchise law or business opportunity law of the State of
Connecticut, now in effect, or adopted or amended after the date of this Agreement, will not apply to franchises
located cutside of Connecticut This Agreement, including the Recitals and all exhibits, contains the entire
understanding of the parties and supersedes any prior written or oral understandings or agreements of the parties
relating to the subject matter of this Agreement The partles may not amend this Agreement orally, but only by a
written agreement, except we may amend the Operations Manual from Ume to time as provided in this Agreement
The provisions of this Agreement which by thelr terms are intended to survive the termination or expiration of this
Agreement. Including, but not limited to, Subparagraphs 5¢,5h,5k,8d.8¢,8g,8h. 11 b,Jlh,11t,

12

 

8
ll.m, L1.n.and 11.0 , and Paragraphs 10, 13, 14, 15, 16, 17, and 19, will survive the termination or expiration of
this Agreement

14. AMENDMENT OF PRIOR AGREEMENTS. The parties want to encourage advertising cooperation and
franchisee compliance, provide for amicable, timely, and cost effective resolution of Disputes with Hmitations on
Vability, and clarify certain provisions of existing Franchise Agreements To achleve these goals, this Agreement
has revised provisions regarding payment of taxes, costs and expenses, responsibility for employment practices and
employees, Insurance, indemnificacion, increasing advertising contributions, reporting information electronically by
personal computer based point-of-sale system, defaults and termination, interest and late fees, dispute resolution,
no territorial rights and our unlimited right to compete, governing law, merger clause, continuing effect, and
limitation of lability You agree to accept the provisions set forth in Subparagraph 5b, Subparagraph 5c,
Subparagraph 5.f, Subparagraph 51, Subparagtaph 5 m_, Paragraph &, Paragraph 10, Subparagraph 11 f,
Subparagraph I] m, Subparagraph 11 n , Subparagraph 11 o. Paragraph 13, and Paragraph 17 in this
Agreement, for this Agreement and to the amendment of all your other existing Franchise Agreements with us to
include these provisions (if the existing Franchise Agreements do not already include these provisions) EACH OF
YOU SIGNING THIS AGREEMENT AS FRANCHISEE ACKNOWLEDGES AND UNDERSTANDS THAT THIS
PARAGRAPH 14 AMENDS ALL YOUR EXISTING FRANCHISE AGREEMENTS WITH US, AND ANY SUCH
AMENDMENT WILL SURVIVE THE TERMINATION OR EXPIRATION OF THIS AGREEMENT. This Paragraph 14
amends any existing Franchise Agreement you have If every individual who signed the existing Franchise
Agreement as franchisee signs this Agreement or another Franchise Agreement containing the provisions of this
Paragraph 14

15. RELEASE. You acknowledge no employee, agent, or representative of ours, or our Affiliates, or our
development agents, has made any representations to you, and you have not relied on any representations, except
for the representations contained In this Agreement. the Offering Circular, and our advertising materials, and
except those you have written in below’

 

 

 

 

16. NO PRIOR CLAIMS. You represent that as of the date of this Agreement, you have no claims of any
type against us, our Affllates, or the Development Agent, or our agents, representatives, shareholders, directors,
officers, and employees, or those of our Affiliates and the Development Agent, except those you have written in
below:

 

 

 

You hereby release each of these Individuals and entities from all claims other than those you listed above
You acknowledge and understand that any list of claims and the general release will include any alleged breaches
of franchise or other laws, and any alleged breach of agreement, relating not only to this Agreement, but also to any
other franchise you have or had with us at any time

17. LIMITATIONS ON DAMAGES, EACH PARTY HEREBY WAIVES, WITHOUT LIMITATION, ANY RIGHT IT
MIGHT OTHERWISE HAVE TO ASSERT A CLAIM FOR AND/OR TO RECOVER LOST PROFITS AND OTHER
FORMS OF CONSEQUENTIAL, INCIDENTAL, CONTINGENT, PUNITIVE AND EXEMPLARY DAMAGES FROM THE
OTHER EXCEPT AS PROVIDED HEREIN EACH PARTY'S LIABILITY SHALL BE LIMITED TO ACTUAL
COMPENSATORY DAMAGES ACTUAL COMPENSATORY DAMAGES SHALL BE THE GREATER OF (1) $100,000 00
OR (2) AT YOUR SOLE OPTION, ALL AMOUNTS PAID TO US FOR FRANCHISE FEES AND ROYALTIES FOR THIS
AGREEMENT FOR UP TO THREE YEARS PRECEDING THE DATE OF ANY AWARD HEREIN IF YOU CHOOSE
OPTION (2), WE WILL ALSO REPURCHASE YOUR EQUIPMENT, PURCHASED FROM OR THROUGH US, AT
DEPRECIATED VALUE USING THE FIVE YEAR, STRAIGHT LINE METHOD OF CALCULATION EACH PARTY
ACKNOWLEDGES THAT IT HAS HAD A FULL OPPORTUNITY TO CONSULT WITH COUNSEL CONCERNING THIS
WAIVER, AND THAT THIS WAIVER IS INFORMED, VOLUNTARY, INTENTIONAL, AND NOT THE RESULT OF
UNEQUAL BARGAINING POWER

18. WAIVER OF JURY TRIAL. EACH PARTY HEREBY WAIVES. WITHOUT LIMITATION, ANY RIGHT IT
MIGHT OTHERWISE HAVE TO TRIAL BY JURY ON ANY AND ALL CLAIMS ASSERTED AGAINST THE OTHER. THIS

13

 
WAIVER IS EFFECTIVE EVEN IF A COURT OF COMPETENT JURISDICTION DECIDES THAT THE ARBITRATION
PROVISION IN PARAGRAPH 10 IS UNENFORCEABLE, EACH PARTY ACKNOWLEDGES THAT IT HAS HAD A FULL
OPPORTUNITY TO CONSULT WITH COUNSEL CONCERNING THIS WAIVER. AND THAT THIS WAIVER IS
INFORMED, VOLUNTARY, INTENTIONAL, AND NOT THE RESULT OF UNEQUAL BARGAINING POWER EACH
PARTY AGREES THAT ANY SUCH TRIAL SHALL TAKE PLACE IN A COURT OF COMPETENT JURISDICTION IN
CONNECTICUT

19, CONSENT TO TERMS OF AGREEMENT. You acknowledge you read and understand this Agreement,
including any addenda and exhibits, and you agree to be bound by all of its terms and conditions

20, ACKNOWLEDGEMENT. YOU ACKNOWLEDGE NO REPRESENTATIONS HAVE BEEN MADE TO YOU
EXCEPT THOSE SET FORTH IN THIS AGREEMENT, THE OFFERING CIRCULAR, AND OUR ADVERTISING
MATERIALS, AND YOU HAVE NO CLAIMS OF ANY TYPE AGAINST US, OUR AFFILIATES, THE DEVELOPMENT
AGENT, OR OUR AGENTS, REPRESENTATIVES, SHAREHOLDERS, DIRECTORS, OFFICERS AND EMPLOYEES,
OR THOSE OF OUR AFFILIATES AND THE DEVELOPMENT AGENT, EXCEPT ANY REPRESENTATIONS OR
CLAIMS YOU WROTE IN THE SPACES PROVIDED IN PARAGRAPHS 15 AND 16

IN WITNESS WHEREOF, the parties have executed this Agreement, as of the date first written above,

 

 

 

 

 

 

FRANCHISEE(S) DOCTOR'S ASSOCIA’ INC
SSS x By
~ Fhanghisee”
as Title
Franchisee
Franchisee

 

Franchisee

DAI 04/05

14

 

 
Franchise: 39005

FRANCHISE AGREEMENT ADDENDUM

This Addendum datedDecember 20, 200Qmends and supplements the Franchise Agreement of the same dale
between Doctor's Associates Inc , a blorida Corporation with principal office in Fort Lauderdale, Florida (“we’ ot
“us"), and Avi_ Cohen, Ghazi J. Faddoul ‘ ("you") The Franchise Agreement, as
amended by this Addendum, will be called this “Agreement”

AGREEMENI
[he parties amend and supplement the Franchise Agreement as follows
I Recital K 1s amended by adding the following to the fist sentence

Subparagraph 5 f (regarding reporting information electronically by personal computer based point-of-
sale system, acceptance of debit and credit cards, SUBWAY® Cash Card Program and other new

technology initiatives)

i Paragraph 1 is amended by adding the following after the second sentence (starting “When you sign this
Agreement ‘)

The initial franchise fee and transfer fee amounts indicated in this Agreement, reflect an increase
which will not be effective for existing SUBWAY® franchisees until January 1, 2006.

i Subparagraph 1 a Is amended by replacing the reference to $12,500 In the second sentence with
$15,000

IV Subparagraph | b Is amended by replacing the reference to $6,000 in the second sentence with $7,500
and by replacing the reference to $6,500 in the Jast sentence with $7,500

Vv Subparagraph | d is amended by replacing the reference to $1,500 in the second sentence with $5,000

VI Subparagraph | e ts amended by replacing the remaining sentences after the heading “Add On Fee.”
with the following

$10,500 Individuals who are existing SUBWAY® franchisees represent their franchises are in substantial
compliance with the Operations Manual and there are no defaults under any Franchise Agreements The
Franchise Fee is the reduced Franchise Fee of $7,500 plus an add-on fee of $3,000 to add individuals
who are not SUBWAY® franchisees If the representations of the existing franchisees are not true when a
lease !s signed, you agree to pay an additional $4,500 We may refund your add-on fee of $3,000 if an
individual is added to this Agreement and fails to achieve a passing score on our standardized test |
conducted during the training program as provided in Subparagraph 5 a (2)

VII The second sentence of Subparagraph 5 d is replaced with the following

You agree to pay us $15,000 for each business you own or operate in violation of this Subparagraph, plus
eight percent (8%) of its gross sales, as being a reasonable pre-estimate of the damages we will suffer

VIN  Subparagraph 5 f is replaced in total by the following

You will report your gross sales by telephone, facsimile, electronically, or by other means we permit, within
two (2) days after the end of the business week (currently Tuesday) You will submit weekly summartes
showing results of the Restaurant’s operations by the following Saturday, in writing or in electronic form, as
we permit, to locations we designate You will use and maintain at the Restaurant a personal computer
based point-of-sale system and software compatible with our requirements You may be required to accept
credit or debit cards from customers You may be required to obtain a report of all credit and debit
transactions and may have to provide us with a copy of this report You may be required to Invest in and
implement new technology initiatives, which may include but will not be limited to the SUBWAY® Cash Card
Program, LCD or plasma monitors, music, internet TV broadcast, WIFI and Software Management
applications, high speed broad band connection, video surveillance, remote ordering through kiosks, PC's or
hand held devices, E-learning, and software applications designed to better manage business functions and
control costs You will be responsible for all fees associated with these new technology initiatives You may be
required to use a supplier we designate for any goods and services associated with these Inttlatives At al}
times during the term of this Agreement you will use and maintain an address to send and receive electronic
mai] and attachments on the Internet and aecess to the World Wide Web You agree to install additions,
substitutions, and upgrades to the hardware, software, and other items to maintain full operational efficiency
and to keep pace with changing technolegy and updates to our requirements You will record all sales and
designated business information in your system In the manner we specify in the Operations Manual} You will

 

 
XI

XII

XIN

report your information to us electronically at weekly os other intervals we specify You also agree we may
call up or poll your system to retrieve the information at any time We may estimate gross sales if you fail te
report on time We may withdraw money frum your checking account for Royalty and advertising
contributions under the above Subparagraph, for the amounts then due based un reported or estiniated
sales We will adjust charges based on estimated gross sales after we determine actual sales

The second sentence of Subparagraph 8 g is replaced with the following

You agree to pay us $15,000 for each sandwich business locauon you ale associated with in the
restricted area Jn violation of this Subparagraph. plus eight percent (8%) of the gross sales of such
location during the one (1) year period, as being a reasonable pre-estimate of the damages we will suffer

Sentence (6) of Subpatagraph 9 4 {s replaced with the followng

(6) you pay us $6,500 (plus any applicable Sales Tax) for our legal, accounting, training, and other
expenses we incur In connection with the transfer,

Subparagraph 9 a is further amended by adding the following as the last sentence

During the transfer process, DA] may share your personal information with its affiliates or prospective
franchisees in accordance with the procedures set forth in the Company Privacy Policy If you do not want
your information shared during the transfer process, you must opt out elther prior to the completion of
the store transfer or at the time of the transfer All opt out requests should be directed to the Privacy

Officer, as set forth in the policy
Subparagraph 9 b Is replaced in total with the following

b You may assign your rights under this Agreement to operate the Restaurant (but not this Agreement}
to a corporation (or similar entity) provided (1) the corporation is newly organized and its activities are
confined exclusively to operating the Restaurant, (2) you are, and remain at all times, the owner of the
controlling voting interest and majority ownership Interest (more than 50%) of the corporation, (3) each
individual who signs this Agreement owns no less that twenty-five percent (25%) of the corporation, (4)
the corporation delivers to us a written assumption of your obligations under this Agreement, (5) all
shareholders of the corporation deliver to us a written guarantee of the full and prompt payment and
performance by the corporation of all ics obligations to us under the assignment, (6) you acknowledge to
us in writing that you are not relieved of any personal liability, and (7) you deliver a general release
described In Subparagraph 9 a, signed by you, the corporation, and each shareholder of the corporation
You will also remain personally able under the Sublease You acknowledge that any Judgment awarded
in our favor, pursuant to this Agreement, may be enforced against you, the corporation and its

successors or assigns

The Franchise Agreement, as amended and supplemented by this Addendum, contains the entire

understanding of the pares ‘he parties can amend the Franchise Agreement further only In a signed writing

The provisions of the Franchise Agreement, as amended and supplemented by this Addendum, ace ratified and

alfirmed
XIV You acknowledge you read and understand this Addendum and the Franchise Agreement and consent to
be bound by all the terms and conditions of the Franchise Agreement, as amended and supplemented by this
Addendum
IN WITNESS WHEREOF, the parties have executed this Addendum, as of thexiate first written above
ww
—_—? ISEE . DOCTOR'S ASSOC INC
By

 

iA

 

Franchisee Yo) \
Title

a

~

" Franchisee

 

Franchisee

 

Franchisee

DAL 10/05

 

 
